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                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 MICHIGAN WELFARE RIGHTS
 ORGANIZATION, et al.,

                Plaintiffs,                   Case No. 1:20-cv-03388-TSC
 v.

 DONALD J. TRUMP, et al.,

                Defendants.



             NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       Plaintiffs Michigan Welfare Rights Organization, NAACP, Maureen Taylor, Nicole L. Hill,

and Teasha K. Jones, respectfully submit this notice, pursuant to Rule 41, to inform this Court that

they voluntarily dismiss without prejudice all claims against all Defendants (Donald J. Trump,

Donald J. Trump for President, Inc., and the Republican National Committee). Plaintiffs may

“dismiss an action without a court order by filing a notice of dismissal before the opposing party

serves either an answer or a motion for summary judgment.” Fed. R. Civ. P. 41(a)(1)(A)(i). Here,

none of the Defendants have served an answer or a motion for summary judgment.




                                               Respectfully submitted,


                                               /s/ Jason M. Bradford
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                              Counsel for Plaintiffs




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                                   CERTIFICATE OF SERVICE

       I certify that on December 4, 2024, I electronically filed the foregoing Plaintiffs’ Notice of

Voluntary Dismissal Without Prejudice with the Clerk of the Court using the CM/ECF system, which

will send notification of such filing to all counsel and parties of record.



Dated: December 4, 2024                                        /s/ Jason M. Bradford
                                                               Jason M. Bradford
                                                               Attorney for Plaintiffs




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